                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )       COLLIER/CARTER
                                               )
        v.                                     )       CASE NO. 1:09-CR-181
                                               )
 AARON SULLIVAN                                )



                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on August 26,

 2010. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Superseding Indictment, conspiracy to distribute and manufacture 5 grams

 or more of methamphetamine (actual) and 50 grams or more of a mixture and substance

 containing methamphetamine in violation of 21 USC §§ 846 and 841(a)(1) and 841(b)(1)(B), in

 exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find that the defendant is fully capable and competent

 to enter an informed plea; that the plea is made knowingly and with full understanding of each of

 the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; that the defendant understands the

 nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Superseding Indictment be accepted, that the Court adjudicate defendant guilty

 of the charges set forth in the lesser included offense in Count One of the Superseding

 Indictment, and that the written plea agreement be accepted at the time of sentencing. I further


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 recommend that defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

        The defendant’s sentencing date is scheduled for Thursday, January 6, 2011, at 9:00

 am.



                                                 s/William B. Mitchell Carter
                                                 UNITED STATES MAGISTRATE JUDGE




                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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